
The Supreme Court affirmed the order of the Quarter Sessions on March 11, 1872, in the following opinion:
Per Curiam.
*181It is not known upon what ground the Court of Quarter Sessions set aside the report in this case, whether for errors in law or in fact. It is not to be doubted that the Court could set aside the report upon the representation of what in its discretion it might consider sufficient reasons for so doing, and we be without power to review the decision. The reason for this is well known, namely, that the writ of certiorari does not bring up the facts upon which the Court may have acted. All that is examinable on certiorari in this Court is the regularity of the proceedings; Duff’s Road, 16 P. F. Smith 459. The Supreme Court will not review the facts in a road case; Spring Garden Road, 7 Wr. 144. There are numerous decisions to this effect. The result of the rule is, that if a Judge sets aside a report for facts against it, we cannot look into the testimony for error. We cannot presume it. If error be not made to appear, the presumption is conclusive that it does not exist. We must, therefore, affirm the action of the Court in this case. The order of the Court is accordingly affirmed at the cost of the exceptants.
The Court set aside the proceedings, and Tobias Overholt, a ■petitioner, then appealed, complaining of the action of the Court in setting aside the report.
